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                                      8   Irvine, CA 92614
                                      9   Attorneys for Defendant,
                                          NATIONAL UNION FIRE INSURANCE
                                     10   COMPANY OF PITTSBURGH, PA
                                     11
                                                               UNITED STATES DISTRICT COURT
                                     12
Gordon Rees Scully Mansukhani, LLP




                                                    CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
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                                          WESTERN RIVERSIDE COUNCIL OF              Case No. 5:20-cv-02164- GW (KKx)
                                          GOVERNMENTS, a California Joint
         Irvine, CA 92614




                                     15
                                          Powers Authority; CITY OF                 STIPULATION TO MODIFY
                                     16   BEAUMONT, a public entity in the          SCHEDULING ORDER
                                          State of California,
                                     17                                             Judge: Honorable George H. Wu
                                                         Plaintiffs,
                                     18
                                               v.
                                     19
                                          NATIONAL UNION FIRE
                                     20   INSURANCE COMPANY OF
                                          PITTSBURGH, PA, and DOES 1
                                     21   through 50, inclusive,
                                     22                  Defendants.
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                                                                                                     5:20-CV-02164- GW (KKX)
                                                                              -1-       STIPULATION TO MODIFY SCHEDULING
                                                                                                                      ORDER
                              Case 5:20-cv-02164-GW-KK Document 27 Filed 06/17/21 Page 2 of 7 Page ID #:200



                                      1            Plaintiffs Western Riverside Council of Governments (“WRCOG”) and the
                                      2   City of Beaumont (together “Plaintiffs”), by and through their undersigned counsel,
                                      3   and Defendant National Union Fire Insurance Company of Pittsburgh, Pa. (“National
                                      4   Union”), by and through its undersigned counsel,1 hereby stipulate and agree as
                                      5   follows:
                                      6            WHEREAS, WRCOG, as an alleged assignee of the City of Beaumont, seeks
                                      7   to recover under government crime policies National Union issued to the City of
                                      8   Beaumont (the “Policies”) for the actions of certain alleged former employees and/or
                                      9   officials of the City of Beaumont who were engaged by the City of Beaumont from
                                     10   approximately July 1993 to October 2015 (See Dkt. 20);
                                     11            WHEREAS, National Union disputes that Plaintiffs are entitled to recover
                                     12   under the terms and conditions of the Policies, and has asserted affirmative defenses
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                                     13   in support of its position (Dkt. 24);
                                     14            WHEREAS, following the Parties’ submission of their Rule 26(f) Report (Dkt.
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         Irvine, CA 92614




                                     15   16) this Court entered a Scheduling Order (Dkt. 19) with the following deadlines:
                                     16                      a. Post-mediation status conference on July 29, 2021 and mediation
                                     17                         to be completed by July 27, 2021;
                                     18                      b. Regular discovery to be completed by August 6, 2021;
                                     19                      c. Expert discovery to be completed by September 10, 2021;
                                     20                      d. Last day for the Court to hear motions is October 14, 2021;
                                     21                      e. Pre-trial conference on November 18, 2021; and
                                     22                      f. Jury trial to begin on November 30, 2021;
                                     23            WHEREAS, on December 2, 2020, two days after this Court entered the
                                     24   scheduling order, National Union served its First Set of Interrogatories and Requests
                                     25   for Production on Plaintiffs. Plaintiffs provided their responses to this written
                                     26   discovery on January 25, 2021, and following a meet and confer, provided amended
                                     27   responses to certain interrogatories on March 8, 2021;
                                     28   1
                                              “Parties” shall refer to both the Plaintiffs and National Union.
                                                                                                             5:20-CV-02164- GW (KKX)
                                                                                     -2-        STIPULATION TO MODIFY SCHEDULING
                                                                                                                              ORDER
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                                      1         WHEREAS, Plaintiffs began producing documents in response to National
                                      2   Union’s Requests for Production on March 5, 2021. Plaintiffs continued producing
                                      3   documents on a rolling basis through May 17, 2021, when Plaintiffs represented that
                                      4   they had completed their initial production and provided a privilege log;
                                      5         WHEREAS, Plaintiffs served their First Set of Interrogatories and Requests
                                      6   for Production on National Union on December 31, 2020. National Union provided
                                      7   written responses on February 24, 2021 and its document production and privilege
                                      8   log on March 8, 2021;
                                      9         WHEREAS, throughout March, April and May 2021, the Parties have met and
                                     10   conferred and exchanged numerous phone calls and emails on outstanding discovery
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                                     11   issues regarding additional responsive documents that have not yet been produced,
                                     12   ESI search terms and custodians, and the level of detail provided by Plaintiffs’
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                                     13   privilege log;
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                                     14         WHEREAS, the Parties are continuing to review the responsive documents
                                     15   produced to date, identify and produce additional responsive documents for the
                                     16   approximately twenty years during which the alleged employees/officers were
                                     17   engaged by the City of Beaumont, informally resolve their dispute regarding
                                     18   Plaintiffs’ privilege log, and determine whether they can fully resolve their
                                     19   outstanding discovery disputes through the meet and confer process;
                                     20         WHEREAS, the Parties wish to resolve their outstanding discovery disputes
                                     21   and review the anticipated supplemental productions prior to conducting depositions;
                                     22         WHEREAS, the Parties have diligently and cooperatively worked to complete
                                     23   discovery within the time period allocated by this Court, but contemplate needing
                                     24   additional time to resolve their outstanding disputes and additional time to produce
                                     25   their supplemental document productions;
                                     26         WHEREAS, the Parties request that this Court enter a scheduling order
                                     27   modifying all deadlines by approximately 120 days, with adjustments made to
                                     28   accommodate the holidays and the Parties’ existing commitments, including trials
                                                                                                          5:20-CV-02164- GW (KKX)
                                                                                  -3-        STIPULATION TO MODIFY SCHEDULING
                                                                                                                           ORDER
                             Case 5:20-cv-02164-GW-KK Document 27 Filed 06/17/21 Page 4 of 7 Page ID #:202



                                      1   scheduled in other matters;
                                      2         WHEREAS, the Parties submit that there is good cause for such an order based
                                      3   on the recitals above, and that such an order would be in the interest of justice and
                                      4   would cause no Party any prejudice;
                                      5         WHEREAS, the Parties have previously stipulated to two extensions of time
                                      6   regarding the pleadings, one deadline automatically extended by L.R. 8-3 (Dkt. 9)
                                      7   and the other stipulation granted by this Court (Dkt.15);
                                      8         WHEREFORE, the Parties hereby stipulate and request that this Court enter a
                                      9   modified scheduling order with the following deadlines:
                                     10            1. Post-mediation status conference will be held on December 9, 2021,
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                                     11                with mediation to be completed by December 7, 2021;
                                     12            2. All regular discovery will be completed by December 17, 2021;
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                                     13            3. All expert discovery will be completed by February 18, 2022;
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                                     14            4. The last day for the Court to hear any motions (other than motions in
                                     15                limine which will be heard at the pre-trial conference) is May 3, 2022;
                                     16            5. The pre-trial conference will be held on June 2, 2022; and
                                     17            6. Jury Trial will begin on June 21, 2022.
                                     18
                                     19         IT IS SO STIPULATED.
                                     20
                                     21   Dated: June 17, 2021                       BEST BEST & KRIEGER LLP

                                     22
                                     23                                              By: /s/ Daniel L. Richards
                                                                                        JEFFREY V. DUNN
                                     24
                                                                                        CHRISTOPHER E. DEAL
                                     25                                                 DANIEL L. RICHARDS
                                     26
                                                                                         Attorneys for Plaintiffs
                                     27                                                  Western Riverside Council of
                                                                                         Governments and the City of
                                     28
                                                                                         Beaumont
                                                                                                          5:20-CV-02164- GW (KKX)
                                                                                  -4-        STIPULATION TO MODIFY SCHEDULING
                                                                                                                           ORDER
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                                      1
                                      2   Dated: June 17, 2021           GORDON REES SCULLY
                                                                         MANSUKHANI LLP
                                      3
                                      4
                                                                         By: /s/ Katherine A. Musbach
                                      5
                                                                            KATHERINE A. MUSBACH
                                      6                                     CHRISTINA R. SPIEZIA
                                      7                                     SCOTT L. SCHMOOKLER
                                                                            IGA W. TODD
                                      8
                                      9                                      Attorneys for Defendant
                                                                             National Union Fire Insurance
                                     10                                      Company of Pittsburgh, Pa.
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                                                                       -5-      STIPULATION TO MODIFY SCHEDULING
                                                                                                              ORDER
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                                      1                            SIGNATURE ATTESTATION
                                      2         Pursuant to Local Rule 5-4.3.4, I hereby attest that all signatories listed
                                      3   above, on whose behalf this stipulation is submitted, concur in the filing’s content
                                      4   and have authorized the filing.
                                      5
                                      6   Dated: June 17, 2021                        GORDON REES SCULLY
                                                                                      MANSUKHANI LLP
                                      7
                                      8
                                      9                                               By: /s/ Katherine A. Musbach
                                                                                         KATHERINE A. MUSBACH
                                     10                                                  CHRISTINA R. SPIEZIA
Gordon Rees Scully Mansukhani, LLP




                                     11                                                  SCOTT L. SCHMOOKLER
                                                                                         IGA W. TODD
                                     12
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                                     13                                                   Attorneys for Defendant
         Irvine, CA 92614




                                                                                          National Union Fire Insurance
                                     14                                                   Company of Pittsburgh, Pa.
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                                                                                   -6-        STIPULATION TO MODIFY SCHEDULING
                                                                                                                            ORDER
                             Case 5:20-cv-02164-GW-KK Document 27 Filed 06/17/21 Page 7 of 7 Page ID #:205



                                      1                              CERTIFICATE OF SERVICE
                                      2         The undersigned hereby certifies that on June 17, 2021, a true and correct copy
                                      3   of the foregoing Stipulation to Modify Scheduling Order was electronically filed
                                      4   with the Clerk of Court using the CM/ECF System, which will automatically send e-
                                      5   mail notification of such filing to all attorneys of record.
                                      6
                                      7                                                  GORDON REES SCULLY
                                                                                         MANSUKHANI LLP
                                      8                                            By:     /s/ Katherine A. Musbach
                                      9                                                  KATHERINE A. MUSBACH
                                                                                         CHRISTINA R. SPIEZIA
                                     10
                                                                                         SCOTT L. SCHMOOKLER
Gordon Rees Scully Mansukhani, LLP




                                     11                                                  IGA W. TODD
                                     12
                                                                                         Attorneys for Defendant
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                                     13                                                  National Union Fire Insurance
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                                                                                         Company of Pittsburgh, Pa.
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                                                                                    -7-        STIPULATION TO MODIFY SCHEDULING
                                                                                                                             ORDER
